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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK                               BROOKLYN OFFICE


   Leticia and Yovany^
                                                                                      ^
          Plaintiffs,                                                                 ■            • . v.

                                                                                          i: t: ."' • .      H

   V.                                                  Case No.


   The United States of America,
                                                                         GARAUHS, J.
          Defendant

                                                                       LEVY, M.J.
                                            COMPLAINT


          1.     Plaintiffs Leticia and her then-fifteen-year-old son, Yovany (together, the

  "Plaintiffs"), came to the United States as asylum seekers in search ofsafety. Instead of providing

  them the refuge they sought, federal agents forcibly separated Yovany from his mother, beginning

  a 792-day ordeal in which Yovany was placed in foster care and Leticia was unlawfully deported.

  Although the lasting effects of this family's forced separation may never fully heal, Leticia and

  Yovany seek justice in the formofdamages for their unlawftil mistreatment.

         2.      Leticia and Yovany fled Guatemala in 2017 to escape persecution and gang

  violence. Due to the extreme violence suffered by Yovany, U.S. Citizenship and Immigration

  Services ("USCIS") has granted his application for asylum. Leticia's asylum case is current^

  ongoing.

         3.      As Customs and Border Protection ("GBP") officers were processing Plaintiffs'

  case,they took Leticia and Yovany to separate holding areas for men and women. Unknown to

  either Plaintiff, this was the last time that Leticia would see her son for 792 days.




   Plaintiffs are filing a Motion to Proceed Pseudonymously concurrently with this Complaint.
                                                  ^                ^

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         4.      Compounding the trauma ofthis surreptitious and pretextual separation, officers of

  GBP, Immigration and Customs Enforcement("ICE"), and the Office of Refugee Resettlement

 ("ORR")did not provide Leticia or Yovany any information about each other's whereabouts or

  wellbeing.

         5.       The trauma ofthe separation caused Leticia to suffer from facial paralysis,which

  was left untreated by government officials and detention facility staffdespite dieir recognition fliat

  her condition required medical attention.

         6.      Despite favorable initial determinations regarding Leticia's asylum claim, officials

  of the Department of Homeland Security("DBS") continued to detain her away from her soa

  Seeing that Leticia was distraught and desperate to secure release from detention for herselfand

  her son, government officials coerced her into accepting a removal order, and she was deported on

  or around June 18, 2018. A federaljudge later determined that her decision to withdraw her

  applications was not the product of a free and deliberate choice and that her subsequent removal

  based on the alleged voluntary withdrawal of her asylum claim was therefore unlawful.

         7.      Leticia and Yovany were not reunited until January 22, 2020, when Leticia

  reentered the United States pursuant to a federal court ordering her return. The injuries that

  Plaintiffs suffered as a result ofthe deliberate misconduct offederal employees,however, woe

  substantial, and the harm that resulted continues to this day.

                                   JURISDICTION AND VENUE

         8.      This court has jurisdiction over Plaintiffs' claims for money damages against the

  United States pursuant to 28 U.S.C. § 1346(b)(1).

         9.      Plaintiffs have exhausted their administrative remedies under the Federal Tort

  Claims Act("FTCA"),28 U.S.C. §§ 2671 etseq. Plaintiffs presented their claims to each ofthe
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  relevant agencies ofthe United States of America more than six months ago. There has been no

  final disposition of their administrative claims, and Plaintiffs now exercise the option to deem

  those claims denied pursuant to 28 U.S.C.§ 2675(a).

          10.      Plaintiffs are residents of this district. Venue is therefore appropriate under 28

  U.S.C. §§ 1391 and 1402(b).

                                               PARTIES


          11.      Plaintiff Leticia is the mother ofPlaintiff Yovany.

          12.      Yovany is Leticia's son and was fifteen years old when he was separated from his

  mother by CBP officers.

          13.      Leticia and Yovany are domiciled in Brooklyn,New York.

          14.      Defendant United States of America(the"United States,""federal government,"or

  the "government")is a proper defendant under the FTCA.See 28 U.S.C. §§ 1346(b),2671,etseq.

  The United States is liable for the personal injuries ofLeticia and Yovany caused by the wrongful

  acts or omissions of its employees,including employees of DHS,DHS's constituent units, CBP,

  and ICE, and ORR. The employees of these agencies were acting within the scope of their

  employmentunder circumstances where the United States,if a private person, would be liable to

  Plaintiffs in accordance with the law ofthe place where the actoromission occurred. See 28 U.S.C.

  § 1346(b).

                                           ALLEGATIONS

     I.         The Federal Government Instituted an Unlawful Family Separation Policy

          15.      Beginning in July 2017,officials in the El Paso Sector of CBP began piloting a

  policy of intentionally and forcibly separating asylum-seeking parents from their children after
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  making immigration arrests near the U.S.-Mexico border.^ On information and belief, this policy

  was conceived and directed by federal employees and officials in Washington, DC. Under this

  policy—which was later expanded and formalized by the Secretary of Homeland Security and

  Attorney GeneraP—^the government forcibly separated thousands of asylum-seeking families,

  taking children as young as four months old from their mothers and fathers.**

          16.       Federal officials separated these families knowing full well that the government

  was notprepared to track separations and had no system in place to reunite separated children with

  their parents.^

          17.       Now, more than three years since the government ramped up family separations,

  there are still hundreds of parents and children who remain separated.^

          18.       The cruelty of this policy and the trauma it inflicted on thousands of families was

  not an unforeseen or incidental byproduct—it was the government's very goal. Top government

  officials at the time were well aware that the "zero-tolerance" policy would result in the separation




  2 See U.S. Dep't of Health and Hum. Servs.,Off. oflnsp'rOen.,Separated Children Placed in
  Office ofRefugee Resettlement Care 3(Jan. 2019),available at
  httt)s://oig.hhs.gov/oei/reports/oei-BL-18-0051 l.ixif("From July through November2017,the
  El Paso sector of Customs and Border Protection(CBP),an agency within DHS,implemented
  new policies that resulted in 281 individuals in families being separated.").
  3 Caitlin Dickerson, The Secret History ofthe U.S. Government's Family Separation Policy,Vtit
  Atlantic(Aug. 7,2022), https://www.theatlantic.comymagazine/archive/2022/09/trump-
  administration-familv-separation-policv-immigration/670604/.
  ** Caitlin Dickerson, 77ie Youngest Child Separated From His Family at the Border Was4
  Months OW,N.Y. Times(June 16,2019). https://www.nvtimes.com/2019/06/16/us/babv-
  constantine-romania-migrants.html.
  ^ Dep't of Justice, Off. ofthe Insp'rGen.,DHS Lacked Technology Needed to Successfully
  Accountfor Separated Migrant Families(Nov.25,2019),
  https://www.oig.dhs.gov/sites/default/files/assets/2019-11/OIG-20-06-Nov 19.pdf.
  ® Dep't of Homeland Sec.,Interagency Task Force on the Reunification ofFamilies Interim
  Progress Report 8 (Sept. 30,2022), available at https://www.dhs.gov/sites/default/files/2022-
  10/22 1026 sec-frtf-interim-progress-repoit-september-2022-cleared.pdf.
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  of thousands of children. The ostensible(but unlawful)purpose of the policy was to deter other

  families from exercising their lawful right to seek asylum in the United States.''

         19.     When top officials at the Department of Justice voiced their deep concern about

  separating families, then-Attorney General Jeff Sessions defended the cruel policy by saying,"We

  need to take away children."® He further stated publicly,"[H]opefully people will get the message

  ... and not break across the border unlawfully."^

         20.     Similarly, then-Acting Assistant Secretary of Health and Human Services Steven

  Wagner told reporters,"We expect that the new [separation] policy will result in a deterrence

  effect,[and] we certainly hope thatparents stop bringing their kids on this dangerousjourney and

  enteringthe country illegally."'®

         21.     Even after a federaljudge enjoined the family separation policy, concluding that

  separated parents would likely succeed on their claim that the separations were unconstitutional,''




' DepTof Justice, Off. ofthe Insp'r Gen.,Review ofthe Department ofJustice's Planning and
Implementation ofits Zero Tolerance Policy andIts Coordination with the Departments of
  Homeland Security and Health and Human Services 2,4(Jan. 14,2021),
  https://oig.iustice.gov/reports/review-department-iustices-planning-and-implementation-its-zero-
  tolerance-policv-and-its [hereinafter"DOJ GIG Report"]; Maj. StaffofH.R. Comm.on the
  Judiciary, The Trump Administration's Family Separation Policy: Trauma, Destruction, and
  Chaos 2(Oct. 2020),
  https://iudiciarv.house.gov/uploadedfiles/the trump administration family separation policy tr
  auma destruction and chaos.pdfVutm campaign=4526-519; StaffofH.R. Comm.on Oversight
  & Reform, Child Separations by the Trump Administration 2(July 2019),
  https://oversight.house.gOv/sites/democrats.oversight.house.gov/files/2019-07-
  2019.%201mmigrant%20Child%2QSeparations-%20Staff%20Report.Txif.
  ® DOJ OIG Report,supra note 4, at 39.
  ^ Philip Bump,Here Are the Administration Officials Who Have Said ThatFamily Separation Is
  Meant as a Deterrent, WASH.POST(June 19,2018),
  https://www.washingtonpost.com/news/t)olitics/wp/2018/06/19/here-are-the-administration-
  officiais-who-have-said-that-family-scparation-is-meant-as-a-deterrent/.

 "Ms. L. V. /C£,310 F. Supp. 3d 1133, 1142-1146, 1149(S.D. Cal. 2018), modified, 330F.R.D.
  284(S.D. Cal. 2019){''Ms. LPf
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  then-President Trump continued to promote the claimed deterrent purpose of the policy, telling

  reporters,"If they feel there will be separation,they don't come."'^

           22.      As described below, the unlawful actions of federal agents inflicted devastating

  physical, mental, and emotional suffering on families, including Leticia and her son.

     II.         Officers Forcibly Separated Leticia from Her Son, Yovany

           23.      Leticia is a 37-year-old indigenous Guatemalan woman who fled persecution and

  death threats in Guatemala with her son, Yovany. Leticia and Yovany came to the United States

  seeking safety and asylum, but after they arrived, without warning or explanation,immigration

  officials separated Leticia and Yovany from each other, causing them both severe emotional

  distress. Officers detained them separately for months, and Leticia became so depressed and

  desperate in detention that government officials coerced her into accepting deportation to

  Guatemala despite her viable asylum claim. Leticia had to make the difficult decision for Yovany

  to remain in the United States, separated from his mother, so he could stay safe. As a direct

  consequence of the govemment's unlawful actions, Leticia and Yovany were separated for 792

  days, or 2 years and 2 months, before the govemment permitted them to be reunited. After

  reunification,this exceptionally prolonged separation continues to cause deep emotional pain to

  both Leticia and her son.


           24.      Leticia and Yovany entered the United States on oraboutNovember20,2017, by

  crossing the Rio Grande. Shortly after crossing the river, they were detained by CBP agents.

           25.      Leticia and her son were transported to a CBP facility known as a "hielera,''or ice

  box, because of the freezing cold temperatures inside the facility. When Leticia and Yovany



  '2 David Shepardson, Trump Says Family Separations DeterIllegalImmigration, Reuters(Oct.
  13, 2018), https://www.reuters.com/article/us-usa-immigration-trump/trump-savs-familv-
  separations-detCT-illegal-immigration-idUSKCNlMOOOC.
/)S^

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         arrived,immigration officers told them to take offtheir shoes and sweaters. Yovany was shivering

         because of how cold it was in the facility. Their clothes were still wetfrom crossing the river, and

         the officers did not give them any clothes to change into or allow them to wear their sweaters.

                 26.    The immigration officers told them to put all oftheir personal belongings in a bag

         Leticia had a notebook with phone numbers and personal and religious items, but the CBP officers

         said she had to hand over everything. She wasforced to putall her belongings in the bag,including

         her shoelaces. The officers told her that when they left the facility, th^ would get their belonging

         back.


                 27.    Leticia and Yovany were cold, tired, and hungry. After they arrived to the CBP

         facility,they waited for approximately three hours before receiving food and water.

                 28.    While they waited,they could see the CBP officers laughing at them and mocking

         the detainees, but they could not understand what they said because it was in English.

                 29.    The officers finallytold Leticia and herson thatthey could restin the early morning

         hours on or about November 21,2017. Officers took Leticia to a room for women. Officers took

         Yovany,who was fifteen years old at the time,to a separate room for men. Leticia had no ideate

         this would be the last time she would see her son.

                 30.    In the room Yovany was taken to there was only one bed and it was crowded wMi

         other people,including at least one adult. Yovany slept on the floor, but he got up several times

         because ofthe cold. CBP officers did not give him anything to cover himself,so he had to cross

         his arms and hug himself to try to keep warm.

                 31.    When Leticia went into the small room for women,she saw that it was crowded

         with women and their young children. She was so exhausted that she collapsed on a mattress on

         the floor and fell asleep.
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         32.      At around 6 or 7 a.m. the same morning, another woman who was detained woke

  Leticia up to tell her that immigration officers had taken her son. Leticia tried to leave the room to

  see where he was,but she was locked inside. She became desperate and started banging on the

  door. An officer finally opened the door and asked what was going on. She asked him for

  information about where they had taken Yovany.The officer responded,"1 don'tknow where your

  son is, I'm just starting my shift." Leticia was shocked and extremely distraught. She had no idea

  where Yovany was or whether he was safe. She began to cry, and she felt like she would pass out

  from the pain of being separated from her son.

     III.      Leticia's Detention Abuse and Separation Trauma

               A. Immigration Officers Withheld Information about Yovany for

                  Approximately One Month

         33.      After Yovany was taken,the officers told Leticia and the other women that it was

  time to leave. Leticia was still crying because ofthe separation from her son.She kept asking about

  Yovany,but the officers became angry and said they did not know what happened to him.They

  told Leticia and the other women to sign some papers that were in English. None ofthem had any

  idea what the papers said. Another woman asked the officials what the papers said, but th^^

  answered,"If I explain what they say to all of you I won't finish today. But if you don't want to

  sign that's fine, go back to where you were [referring to the hielera] and get an attorney, and sign

  when you have an attorney." Another mother said that maybe if they signed,they would be taken

  to where their children were. Leticia, miserable and distrustful because of her treatment by the

  officers, but fearful that non-compliance would prolong her separation from Yovany, eventually

  signed the documents.
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         34.     Shortly after she signed the documents,immigration officerstook Leticia to anolher

  detention center, which she beheves was the West Texas Detention Facility in Sierra Blanca,

  Texas, which is operated by the private contractor LaSalle Corrections. As they were leaving the

  hielera, Leticia tried to retrieve her belongings, but was only allowed to take her sweater and her

  shoes. The officers laughed at her and said that where she was going she would not need them and

  they would go in the trash anyway. She never saw her belongings again.

         35.     Leticia hoped that she would be reunited with Yovany at the next detention center.

  But when Leticia arrived at the detention center,she saw that her son was not there. She asked flie

  officials presentfor more information,butno one would tell her where he was.She was devastated

  and growing more desperate.Leticia cried constantly and was so depressed that she did not eat for

  around five days.

         36.     On or around November 28,2017,Leticia attended a criminal hearingforthe charge

  ofimproper entry. The officers at the detention center told her she was going to see a judge,and

  she thought she would see her son at the court hearing. She entered the courtroom with many other

  people, handcuffed at her wrists and ankles. She was crying because she did not want her son to

  see her handcuffed.But then she realized that her son was not there. Having to leave another place

  without knowing any information about Yovany was very difficult for Leticia, and she grew even

  more depressed.

         37.     The criminal complaint against Leticia was dismissed.

         38.     After she was brou^t before ajudge,officials drove Leticia and the other women

  she was with to a different detention center that was about 3 or 4 hours away through the desert

  At that detention center, they waited outside for many hours. At or around 11pm,the officials at

  that center told them that they could not stay at that detention center because it was full. Leticia
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   and the other women had to board the bus again and travel back to West Texas Detention Facility

   in Sierra Blanca, Texas. On the way back to the facility in Sierra Blanca,the bus driver menaced

   Leticia and the other women. He complained about how long they had waited at the detention

   center and making the long drive for nothing. He drove so fast and recklessly that all the women

   in the bus were terrified. They begged him to slow down and be careful, but he did not listen to

   them. Leticia says that they all were crying and convinced that their bus would crash and that Ihey

   would be killed.

          39.     Eventually, around 12 a.m., the bus made it back to the West Texas Detention

   Facility in Sierra Blanca. At around 6 ajn.,the women were sent to a separate part ofthe detention

   center than where they had first been.

          40.     At the Sierra Blanca facility, two immigration officers regularly came to the

   detention center, and each time she saw them Leticia asked them for information about her soa

   For approximately one month after their separation, all the immigration officers she spoke to

   refused to give Leticia any information about her son.

          41.     Not knowing where Yovany was,or if he was even alive, caused Leticia extreme

   anxiety,and she cried daily. Leticia calls this period of uncertainty "one month of torture," and

   believes that not knowing about Yovany's whereabouts or wellbeing significantly increased the

   trauma and stress of their separation.

          42.     After approximately one month of asking at every opportunity about her son's

   whereabouts,immigration officers finally gave Leticia a list of phone numbers to call to try to find

   Yovany. When the officials presented her with the list, Leticia told them she had never used a

   phone before,that she did not have any money,and that she did not know how to make a phone

   call. The officers responded,"There's always a firsttime."They then told her thatthey had already



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^                      ^                                                               ^              ^       ^
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       helped her a lotand refused to give herany more assistance. Another woman atthe detentioncenter

       helped her to call the numbers,and Leticia was eventually able to locate Yovany at a detention

       center in Arizona.


                    B. Leticia Suffered from Depression and Facial Paralysis while in Detention

              43.      Leticia suffered from facial paralysis while in detention. She first began suffering

       from paralysis in or around January 2018. She woke up with a terrible headache and could not

       leave her cell. She started to feel the pain move from her forehead to her eye and down her face.

       Her right eye became swollen shut,and she could not see out of it. She could not chew. She fek

       like her face was twisting and her body was frequently trembling. Leticia believes her facial

       paralysis was caused by the trauma ofseparation from her soa

              44.      Other women in the detention center became worried for Leticia and told detention

       center staff she was in need ofmedical attention. A medical staff member came to examine her in

       her room. He told her that she was experiencing a headache,that it was not something to be

       concerned about and that it would get better. The medical staff refused to provide any further

       examination or care and told Leticia to "use salt water," which is what they frequently told

       detainees to do to address medical problems.

              45.      Leticia's condition did not improve and she continued to suffer from paralysis. A

       few days later, Leticia went to the medical office in the detention center. A staff member told her

       that she would have to undergo a blood test. They told her that she might need to see a neurologist

       for her facial paralysis.But Leticia never received any follow up or additional care.

              46.      During her detention at Sierra Blanca, medical staff took Leticia's blood around

       three times, but they did not give her any further treatment or explain the results from the

       bloodwork.




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          47.     Leticia also felt overwhelmed by depression at the West Texas Detention Facility

   and asked the nurses there for help. She had trouble sleeping, was constantly crying, and lacked

   hope to continue fighting hercase. Each day she feltthatthatshe was going to dieifshe was forced

   to stay in detention. She asked to see a psychologist to help with the depression and anxiety.Some

   medical officials told Leticia they would refer her for psychological support, but Leticia never

   received any psychological services.

          48.     Leticia made every effortto alertofficials atthe facility ofher need for medicaland

   psychological care. On information and belief, government officials, including ICE officials, had

   knowledge of Leticia's medical and psychological needs, but did not provide her with medically

   necessary treatment.

          49.     Leticia also suffered from abuse and ridicule by the officials at the detention

   facility. The officials frequently mocked and laughed at her and the other detainees,but she could

   not understand them because they spoke in English. For instance,a guard who delivered her meals

   would hold the tray offood above Leticia's head to try to make herjump for the food.

          50.     Conditions in the detention center were also unsanitary and degrading. Drinking

   water was not always available to detainees, and as a result, Leticia often had to drink from

   bathroom sinks. The water tasted very chlorinated and caused Leticia stomach pain and made her

   nauseated. The food provided was also ofveiy poor quality and often made Leticia nauseated and

   sick to her stomach. Oftentimes, meals such as scrambled eggs were undercooked. Other times,

   thefood was burnt. However,the detention stafftoId the women thatifthey did noteat,they would

   be sent to the''calabozo''—asmalldark room in solitary confinement used for punishment.Leticia

   had seen the calabozo and one time heard a man screaming to be let out of it. She feared being




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       sent there and also worried that if she were put in the calabozo^ she might miss a court hearing

       Because of this, Leticia forced herselfto eat out of fear.

              51.       The detention center also lacked proper supplies for personal hygiene. They

       frequently ran out ofsupplies such as soap and toothpaste. The feminine hygiene products that the

       staffprovided were extremely thin and inadequate. Leticia and the other women often stained their

       uniforms and bedsheets and had to wash them by hand using the small amountof body soapfliey

       had. The constant deprivation ofproper hygiene supplies was extremely dehumanizing for Leticia

       and the other women in the detention center.

              52.       The women in the center would tell officials about the problems with the water and

       food. Despite being alerted to these issues, they made no improvements and the conditions

       remained the same throughout Leticia's detention.

           IV.      Yovany's Detention and Separation Trauma

           A. Yovany Was Taken to a Different Detention Center

              53.       While Leticia was being held in squalid and abusive detention conditions, Yovany

       was transferred to separate facilities, and initially given no information about what had happened

       to his mother.


              54.       Yovany describes the day of their separation as the worst day of his hfe. Like his

       mother, he received no warning or explanation before he was separated from her. At around 5 am,

       when the GBP agents woke him up in the hielera to move him,he thought his mother was going

       to be moved as well and that they would see each other again soon. As he was leaving the holding

       cell, he tried to find her. He asked other detainees ifthey had seen her,butno one had,and officials

       refused to answer his questions about her whereabouts.




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          55.      The officers took Yovany to a different detention center, where he was put in a

   room with four or five other people. When officers brought him to the room,Yovany asked about

   his mother again, but no one would give him any information. After barely sleeping the night

   before,Yovany was very tired and fell asleep. Yovany remained in this facility for around two or

   three days. During this time, Yovany asked every officer he could where his mom was. The

   officials either did not respond or told him they did not know.

          56.      The conditions in the detention center were bitter and unsanitary. The room was

   kept at a freezing temperature. He slept on a small cot that did not have a mattress. The bathroom

   was a small section ofthe room with a toilet that did not have a door. Instead, a wall divided the

   toilet from the rest of the room.Ifsomeone stood up,th^ could see the person using the badiioom

   next to them.


          57.      Officials only gave Yovany food twice a day,serving burritos at both meals. The

   burritos were prepackaged and still frozen, making them hard to eat.

          58.      He received clothes to change for the first time before he boarded the plane.

       B. Yovany was then Transferred to a Shelter for Unaccompanied Children in Mesa,
          Arizona


          59.      Yovany was then taken to Casa Kokopelli, a shelter for unaccompanied children in

   Mesa, Arizona operated by Southwest Key.

          60.      The conditions at Casa Kokopelli were unsanitary and harsh.The temperature was

   kept extremely low,and Yovany and other children detained frequently complained that they wctb

   cold to officials, but they did not raise the temperature.

          61.      During mealtimes,Yovany had to wait with other kids forenough staffto take them

   to the bathroom. He experienced long, uncomfortable wait times before he was able to use the

   bathroom. The bathrooms were also unsanitary and not adequately cleaned.



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          62.     Shortly after he arrived atthe shelter,Yovany realized that his mother was notthere,

   and he began to experience more extreme anxiety and depression.

          63.     Yovany continued to experience emotional distress and depression throughout his

   time at Casa Kokopelli,but he was not given adequate care. He would often ask to speak to his

   counselor when he felt distressed, but staff would respond that the counselor was busy and

   unavailable.


          64.     Yovany had constant nightmares while at Casa Kokopelli. He dreamed that an

   officer was waking him up in the detention center to tell him that his mother was not there. When

   he felt staff nearby, he often jumped up out of fear and was unable to sleep. Because of this,

   Yovany was frequently tired, but staffwould not let him sleep during the day.

          65.     Yovany also noticed his hands began to shake and he could not stop them. He

   sometimes could not eat because his hands shook too much.

          66.     One night, Yovany began experiencing terrible pain in his head. He told staff about

   his headache, but they told him he had to wait until the morning to see a doctor. He begged them

   to take him to the doctor,but they did not let him go. His head continued hurt the next day,and he

   asked to see the doctor again. The staff still refused to take him to the doctor, and Yovany never

   received any medical treatment for his severe headaches.

          67.     Although he frequently asked forinformation about his mother afterthe separation,

   no one gave Yovany any information about his mother's whereabouts for about one month. He

   was extremely anxious and scared during this time. He did not know why he had been separated

   from his mother, where she was, why staff would not tell him why they had been separated, or if

   he would ever see her again.




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          68.       While other children at Casa Kokopelli were sometimes able to make phone calls

   to their family members, during this time staff did not call Yovany's name or give him any

   opportunity to make a call.

          69.       Yovany asked staffwhy they never called his name to use the phone.Staffmembers

   told him he had to talk to his social worker because they did not have a phone number for his

   mother. But his social worker said that he did not know his mother's number either and told him,

   "How am I supposed to know where your mother was? Why don't you know where she is?" For

   about a month,despite his repeated requests for help, no one would assist Yovany in locating his

   mother.


          70.       Finally, the staff at the shelter told Yovany his mother had been located in a

   detention center. They helped Yovany call his mother and they learned each other's whereabouts

   for the first time in about a month.


          71.       Yovany cried the first time he talked to his mother because he did not where she

   was or what had happened to her. He asked her if she was being treated well. She said she was

   fine, but Yovany could tell from the sound ofher voice that she was not well.

          72.       Yovany worried about his mother constantly. He frequently could not sleep or eat

   because he was anxious about his mother's wellbeing in detention and whether she was getting

   enough to eat.

          73.       Yovany was not able to regularly talk to his mother.His social worker coordinated

   the calls with his mother,but he told Yovany that he had many cases and he could not focus on

   Yovany's case. Often, Yovany would ask to speak with his mother on a Monday and his social

   worker would say he could call her on Friday. But sometimes the social worker would not call his

   mother on the scheduled day,and Yovany would have to wait another week to speak with her.




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   V.Leticia Accepted Deportation Out of Desperation and to Help Her Son Secure Release
   from Detention


          74.     After finally being able to speak to Yovany, Leticia was very worried about him

   because he was still being detained in the shelter. Staff at the shelter asked her if they could send

   Yovany to stay with anyone,like a family member in the United States. But Leticia did not know

   anyone in the United States who could take Yovany.

          75.     From her conversations with officials, Leticia understood that as long as she was in

   detention and no one else was able to take him, Yovany would also remain in detention. She felt

   desperate and distraught that her son was in a detention shelter suffering and that she could not

   help him.

          76.     Leticia had a Credible Fear Interview("CFl") in detention on or around January

   17,2018. She felt uncomfortable and very nervous during the interview. Despite suffering from

   the conditions of her detention, her depression, and the anxiety caused by her treatment, Leticia

   was nevertheless given a positive CFI determination,and found by an asylum officer to have a

   credible fearofretumingto herhome country.However,a few days after she received herpositive

   CFI, an immigration officer told Leticia that she would still not be released and reunited with her

   son. Instead, the officer said that Leticia would be detained by the Department of Homeland

   Security until there had been a final administrative determination in her case,which sheundeistood

   could take months or even years.

          77.     At a hearing in the detained immigration court on around May 23, 2018, the

   Immigration Judge("IJ")scheduled another hearing for Leticia to present her full asylum case in

   October 2018, which would have been nearly a year after she was separated from her son. Leticia

   felt she could not wait until October for her next hearing or force herself and her son to continue

   to suffer in detention for many more months awaiting the hearing. She was distraught due to the



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   ongoing separation from herson while in detention,which affected her mentaland physical heaWi.

   Leticia hoped that she could help her son secure release from the shelter for unaccompanied

   children if she were no longer in detention herself.

          78.     Because she believed that it was the only way to get herself and her son out of

   detention,Leticia decided to acceptdeportation and informed the IJ at the hearingon or aboutMay

   23,2018.Immigration officials deported Leticia, without her son,on around June 18,2018.

          79.     After being deported,Leticia later wasa class memberin a lawsuitseekingthe right

   to retum to the United States and be reunified with her son. In 2019, The U.S. District Court for

   the Southern District of California considered the circumstances of Leticia's decision to accept

   deportation—^including the abrupt and prolonged separation from her son, her facial paralysis and

   depression, the period during which she had no information about where her son was, and the

   resurfacing of her past trauma—and concluded that"[t]he evidence presented clearly warrants a

   finding that[Leticia]'s^^ withdrawal of her claims was not voluntary." Ms.L v. ICE,403 F. Supp.

   3d 853,862-63(S.D. Cal. 2019)("Ms.I//").

   VI.Leticia and Yovany were Separated for 792 days,Causing Severe Emotional Distress

          80.     As a result of Leticia's decision to accept deportation,Yovany was released fiom

   detention and placed in foster care. Leticia gave her son the option of whether to retum to

   Guatemala with her or stay in the United States without her. Yovany decided to stay in the United

   States due to his fear that he would be killed if he retumed to Guatemala. Yovany had been

   threatened in Guatemala at knifqjoint, and he feared for his life if he had been forced to retum to

   Guatemala. Yovany felt very depressed when he made this decision. He wanted to go back widi

   him mother, but he felt he had no choice and had to remain in the United States for his own safely.



     Leticia is identified as B.L.S.P. in the Ms.L order.


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          81.     Ultimately, U.S. Citizenship and Immigration Services granted asylum to Yovany

   on account of his well-founded fear ofpersecution in Guatemala.

          82.     While staying in the United States protected Yovany from the immediate threat to

   his life he would have faced if he returned to Guatemala, he was forced to live apart from his

   mother for 792 days. He missed her terribly during this time and suffered from extreme anxiety

   and depression. He was scared for his mom and worried about her safety in Guatemala. Yovany

   feared he would never see his mother again and that she might be killed in Guatemala. He

   frequently cried because he had no hope his mother would be able to come back to the United

   States after she had been deported. He believed that he would be forced to be on his own until he

   turned eighteen, and he did not know what was going to happen to him with his mother gone.

          83.     Leticia also suffered from extreme anxiety and depression during the prolonged

   separation. She feared for her own safety in Guatemala and worried about her son's well-being in

   foster care in the United States.

          84.     To this day, Leticia continues to experience symptoms related to her detention and

   separation from her son,and she has been diagnosed with Major Depressive Disorder. She often

   feels depressed and anxious and has no appetite. The sight of food frequently makes her feel

   nauseated. She has extreme difficulty sleeping and relies on medication prescribed to her by her

   psychologist in order to sleep at night.

          85.     Yovany also continues to experience symptoms related to his detention and

   separation from his mother.His hands shake while he performs everyday tasks, like working at his

   part-timejob,talking to his mother,or resting in his room. He has frequent recurring nightmares

   about being separated from Leticia. Whenever his mother comes to wake him up, Yovany still

   wakes up suddenly in a panic,thinking she is an immigration officer coming to tell him that they




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       had been separated.He continues to feel a deep pain as a resultofthe separation. Although Yovany

       was separated from his mother four years ago and he has since been granted asylum,he still fears

       that the U.S. government will somehow separate them again.

       VII. The Government's Separation of Yovany from His Mother and its Mistreatment of
       Them Both Were Unlawful,Violated Numerous Non-Discretionary Obligations,and Was
       Done in an Effort to Coerce Them Into Abandoning Their Legitimate Immigration Claims

              86.     Under long-standing legal obligations, imposed by regulations and by consent

       decree,the federal agents who took custody of Leticia and Yovany subjected them to harsh and

       deliberately cruel treatment, separated mother and son without any legitimate basis, and violated

       multiple non-discretionary duties that were designed to protect families and particularly children

       like Yovany.

                      A. The separation and mistreatment ofPlaintiffs violated ORR,DHS,and their
                         agents'non-discretionary obligations to Yovany under the Flores consent
                          decree.


              87.     Among other things, ORR, DHS, and their agents have a well-estabhshed legal

       obligation to ensure the humane treatmentofminors held in immigration custody.The Flores class

       action litigation, broughton behalfofminorchildren held in immigration detention,began in 1985

       and resulted in a 1997 consent decree that remains binding on the United States. See Flores v.

       Sessions^ 862F.3d 863,869(9th Cir.2017)(recognizingthatthe F/ores decree continues to govern

       those agencies that now carry out the functions ofthe former INS,including DHS and ORR).The

       decree also significantly limits the circumstances, duration,and manner ofimmigration detention

       of minor children, and requires ORR, DHS, and their agents to prioritize the prompt release of

       detained minors.

              88.     The Flores consent decree applies to minors, like Yovany, who arrived in the

       United States to seek asylum with their parents. See Flores v. Lynch,828 F.3d 898,907-08(9th




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   Cir. 2016)(holding that the Flores decree "unambiguously applies to accompanied minors");see

   alsoBunikyteexrel. Bunikienev, CAertojT^No.A-07-CA-164-SS,2007 WL1074070,at*3(W.D.

   Tex. Apr. 9,2007)("[T]he Flores Settlement, by its terms, applies to all 'minors in the custody'

   ofICE and DHS,notjust unaccompanied minors.").

          89.     The Flores consent decree created standards for the treatment of minors while in

   federal custody and recognizes the vulnerability of immigrant children detained without a parent

   or otherlegal guardian.The Flores consentdecreeincludes a requirementthatimmigration officers

   hold minor children in facilities that provide(1)access to food and drinking water;(2) medical

   assistance in the event of emergencies;(3)toilets and sinks;(4)adequate temperature control and

   ventilation;(5)adequate supervision to protect minors from others;(6)separation from unrelated

   adults whenever possible; and(7)contact with family members who were arrested with the minor.

          90.     ORR,DHS,and their agents violated these Flores standards through the numerous

   forms of harsh and inexcusable treatment to which they subjected Yovany,as discussed above. Cf

   Ruizexrel. E.R. v. United States     13-cv-1241 KAM SMG,2014 WL 4662241(E.D.N.Y.Sept

   18, 2014)(finding that violation ofFlores standards can give rise to hability under the FTCA);

   A.E.S.E. V. UnitedStates.'^o. 21-cv-0569RB-GBW,2022 WL4289930(D.N.M. Sept. 16,2022)

  (same). Specifically, they(1) denied Yovany adequate access to food, frequently leaving him

   hungry;(2) failed to provide adequate medical assistance for conditions that he reported;(3)

   detained him in areas withoutadequate access to toiletfacilities,causing him to go to the bathroom

   without privacy;(4)subjected him to freezing cold temperatures in more than one facility;(5)

   unnecessarily detained him in a cell with an unrelated adult; and(6)made no efforts to put him in

   contact with his mother, Leticia,for approximately a month,instead asking him,"Why don't you

   know where she is?".




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                  B. The separation and treatment ofPlaintiffs violated DHS's and its agents'non-
                     discretionary obligations to Plaintiffs under various applicable regulations
                      and other rules and standards.


          91.     Section 1.9 of the "General Standards" of CBP's National Standards on Transport,

   Escort, Detention and Search ("TEDS")''* states that "CBP will maintain family unity to the

   greatest extent operationally feasible, absent a legal requirementor an aiticulable safety or security

   concern that requires separation." TEDS at 4. Section 4.3 of the TEDS on "General Detention

   Procedures" states that"[g]enerally, family units with juveniles should not be separated. When it

   is necessary to separate juveniles from the parent(s) and/or legal guardian(s), officers/agents must

   follow their operational office's policies and procedures and appropriate legal requirements."

   TEDS at 15;see also TEDS at 22(stating the same requirements in Section 5.6 on "Detention").

   Because no legal requirement,safety concern, or security concern required separating Leticia and

   Yovany,DHS officers violated this standard by separating them.                  Jacinto-Castanon de

   Notasco. V. ICE, Judge Friedman addressed the family separation practices that Leticia and

   Yovany were subjected to and concluded that "nothing in federal law suggests that deterring

   immigration by indefinitely separating families once the parents have been transferred to

   immigration custody is a compelling or legitimate government objective." 319 P. Supp. 3d 491,

   502(D.D.C.2018).




   I'* CBP issued the National Standards on Transport, Escort, Detention and Search(TEDS)in
   October of 2015, and CBP officers were required to abideby these standards during the period of
   Plaintiffs' separation and detention. See Customs and Border Protection, National Standards on
   Transport, Escort, Detention, and Search 2015 available at
   https://www.cbp.uov/document/directives/cbp-national-standards-transport-escort-detention-and-
   search (last visited June 18,2021).




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          92.    Moreover, TEDS requires that "[i]n circumstances where family units must be

   separated due to different immigration dispositions, such separation much be documented in the

   appropriate electronic system(s)of record." TEDS at 15, 22.'^ Federal agents failed to document

   the separation ofLeticia and Yovany,causing a subsequent month-long period in which they were

   unable to communicate with each other or confirm their family member's safety and well-being

   Morever,federal agents represented to Leticia that it was "not theirjob" to keep track ofYovany's

   whereabouts after separating them and refused to give her any information about him for

   approximately a month,thereby cruelly causing her additional trauma and stress.

          93.    In addition,as part ofthe separation ofLeticia and Yovany,federal agents subjected

   Leticia and Yovany to harsh and deliberately cruel treatment, as discussed above,that violated

   numerous mandatory, non-discretionary obligations the agents were required to follow.

          94.    For example, DHS agents' treatment of Plaintiffs while in the hielera violated

   CBP's internal policies and standards requiring that temperatures in holding centers be kept

   "within a reasonable and comfortable range."TEDS at 16. Section 4.7 of the TEDS, on "Hold

   Room Standards," states," Under no circumstances will officers/agents use temperature controls

   in a punitive manner.'" TEDS at 16(emphasis added). By subjecting Plaintiffs to freezing cold

   temperatures deliberately in the hielera, CBP officers violated this TEDS standard, as well as

   obligations under the Flores consent decree.




     See also John Sandweg, Facilitating ParentalInterests in the Course ofCivillmmigration
   Enforcement Activities 1 (Aug.23,2013), availableat
   https://www.immigrantdefenseproiect.org/wp-content/uploads/2013-ICE-Parental-lntercsts-
   Directive.pdf ("Parental Interests Directive")("ICE will maintain a comprehensive process for
   identifying, placing, monitoring, accommodating, and removing alien parents or legal guardians
   of minor children while safeguarding their parental rights.")


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          95.       DHS agents' treatment of Plaintiff Leticia further violated Section 1.2 of the

   TEDS on "Integrity and Professionalism," which states that states that "CBP employees must

   speak and act with the utmost integrity and professionalism. CBP employees must conduct

   themselves in a manner that reflects positively on CBP at all times." TEDS at 4. Section 1.4, on

   "Non-Discriminatory Policy," also states that "CBP employees must treat all individuals with

   dignity and respect."Id. DHS agents violated these policies and standards by taunting Leticia wifli

   herfood by holding it above her head,and by teasing and casting dirty looks at Leticia and Yovany.

          96.     Federal agents also violated mandatory, non-discretionary obligations in

   deliberately ignoring Leticia's obvious medical needs. Although she reported multiple medical

   conditions to staff members,and was told she should receive follow-up care forher condition of

   facial paralysis, she never received that care or the results of the multiple blood tests to w hich she

   was subjected.

          97.     The National Detention Standards'^ governing the conditions at the West Texas

   Detention Facility require that"[a]ll detainees shall have access to medical services that promote

   detainee health and general well-being."INSDetention Standard:Medical Care 1 (Sept.20,2000),

   available at https://www.ice.gov/doclib/dro/detention-standards/pdf/medical.pdf. Specifically, in

   the case of any "disagreement on the type or extent of treatment that is medically necessary," the

   National Detention Standards assign ICE" the responsibility to make such a determination. Id. at

   2. ICE failed to provide Leticia with necessary off-site treatment forher identified medical and



     In 2000,the Immigration and Naturalization Service(INS)established the National Detention
   Standards(NDS)for detention facilities, which apply to ICE's Intergovernmental Service
   Agreement facilities, including the West Texas Detention Facility. See U.S. Immigr.& Customs
   EnVU ICE Detention Standards, https://www.ice.gov/factsheets/facilities-pbnds(Nov.9, 2021).

  "INS's detention authorities and responsibilities were transferred to ICE in 2002.See Homeland
  Security Actof2002,Pub. L. No. 107-296,§§ 441,471, 116 Stat. 2135,2192,2205 (2002).

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   psychological needs during her time in immigration detention at Sierra Blanca. In doing so, ICE

   and its officers violated their non-discretionary duties to provide medically necessary health

   services.


                  C. The separation ofLeticia and Yovany violated their constitutional rights.

          98.     More fundamentally,the intentionalimplementationofthe family separation policy

   against Leticiaand Yovany violated their constitutional rights.See,e.g.^C.M. v. United States,^o.

   CV-19-05217-PHX-SRB,2020 WL 1698191,at *4(D. Ariz. Mar.30,2020)(findingplaintiffs in

   similar family separation case had "plausibly alleged that the government's separation of their

   families violated their constitutional rights").

          99.      First, the implementation ofthe separation policy violated their constitutional right

   to family integrity. The Supreme Court has consistently recognized that the parent-child

   relationship is constitutionally protected, see, e.g., Quilloin v. Walcott, 434 U.S. 246 (1978);

   Wisconsin v. Yoder, 406 U.S. 205,231—33(1972);Meyer v. Nebraska,262 U.S. 390, 399—401

   (1923),and that it is constitutionally importantforchildren to remain with theirparents. SeePrince

   V. Massachusetts, 321 U.S. 158, 166(1944)("It is cardinal with us that the custody, care and

   nurture of the child reside first in the parents, whose primary function and freedom include

   preparation for obligations the state can neither supply nor hinder."). These constitutional

   protections extend to citizens and non-citizens alike,including when confined by the government

   Jacinto-Castanon de Nolasco,319 F. Supp. 3d 491,500(D.D.C.2018).

           100.   Second, in tearing Yovany from Leticia, sending them hundreds of miles apart,

   refusingto timely inform Yovany and Leticia ofeach other's whereabouts orwell-being,depriving

   them of any regular or meaningful opportunities for communication with one another,failing to

   have any system for tracking the child or ensuring family reunification, coercing Leticia to accqjt




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   deportation, and engaging in inordinate delays in reuniting them, federal agents also violated

   Plaintiffs' substantive due process rights.

          101.    Indeed, in Ms. L v. /C£, the district court concluded that the family separation

   practice Yovany and Leticia were subjected to likely violated parents' and children's substantive

   due process rights.     310 F. Supp. 3d 1133,1144-46(S.D. Cal. 2018)("Ms.L/")("A practice

   of this sort implemented in this way is likely to be so egregious,so outrageous,that it may faiily

   be said to shock the contemporary conscience... interferes with rights implicit in the concept of

   ordered liberty,...and is so brutal and offensive that it does not comport with traditional ideas of

   fair play and decency.'")(internal citations, quotations, and alterations omitted); see alsoJacinto-

   Castanon deNolasco,319 F. Supp. 3d at 502("[Njothing in federal law suggests that deterring

   immigration by indefinitely separating families once the parents have been transferred to

   immigration custody is a compelling or legitimate government objective.").

          102.    Third,the separation and mistreatmentofYovany and Leticia additionally violated

   Plaintiffs' constitutional right to equal protection because it was motivated by discriminatoiy

   animus towards Latino immigrants of Central American origin. DHS agents targeted Central

   American asylum seekersin particular for separation and harsh treatment as a means of deterring

   them from pursuing legitimate immigration claims and deterring Central American families fiom

   seeking asylum in the United States.

          103.    As with the fundamental right to family integrity,the constitutional right to equal

   protection under the law and to freedom from invidious discrimination by the government on flie

   basis of race or national origin has long been recognized as "extend[ing] to anyone, citizen or

   stranger, who is subject to the laws of a State," even those not lawfully present.Plyler v. Doe^ 457

   U.S. 202,215(1982)(emphasis removed).




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             104.   Fourth,and relatedly,DHS agents also separated Yovany and Leticia and subjected

   them to harsh and deliberately cruel treatment in order to impede their meritorious cases for

   immigration protection in the United States,and thereby violated Plaintiffs' procedural due process

   rights.

             105.   On more than one occasion immigration officers pressured Leticia to sign away her

   rights and agree to be deported to Guatemala. Using family separation to threaten and coerce

   asylum seekers into giving up their immigration claims violates non-discretionary regulations and

   directives applicable to DHS and violates Plaintiffs' procedural due process rights. See 8 C.F.R.§

   1003.25(b)(requiring that waiver of rights in conjunction with a stipulated order ofremoval be

   voluntary,knowing,and intelligent);see also Ms.L //,403 F. Supp. 3d at 861-68(finding that for

   a numberofparents,including Leticia specifically,the coercion offamily separation rendered their

   decisions to withdraw applications for admission involuntary).

                                        CLAIMS FOR RELIEF


                                                COUNTI
                    INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

             106.   The other paragraphs ofthis complaint are incorporated as if set forth here.

             107.   By engaging in the acts described in this Complaint, including but not limited to

   unlawfully separating Leticia from Yovany for over two years, preventing them from

   communicating with each other after separation,coercing Leticia to accept deportation, creating

   exceptionally harsh conditions of detention, engaging in insulting and taunting behavior in the

   midst of Leticia and Yovany's distress, denying Leticia medical treatment, and prolonging Leticia

   and Yovany's separation after Leticia's unlawful deportation,the federal employees and officials

   referenced above engaged in extreme and outrageous conduct with an intent to cause,or a reckless




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   disregard of the probability of causing,Plaintiffs Leticia and Yovany to suffer severe emotional

   distress.


           108.   As a direct and proximate result of that conduct, Leticia and Yovany suffered,and

   continue to suffer, severe emotional distress.

           109.   Underthe Federal TortClaims Act,the United States is liable to Leticia and Yovany

   for intentional infliction ofemotional distress.

                                              COUNT II
                                            NEGLIGENCE


           110.   The other paragraphs of this complaint are incorporated as if set forth here.

           111.   The federal employees and officials referenced above had a duty to Plaintiffs

   Leticia and Yovany to act with ordinary care and prudence so as not to cause harm or injury to

   Plaintiffs.


           112.   The federal employees and officials referenced above also had a duty to Plaintiffs

   Leticia and Yovany to adhere to the Flores consent decree,TEDS,the Parental Interests Directive,

   and the National Detention Standards.

           113. By engaging in the acts alleged herein,includingbutnotlimited to detaining Leticia

   and Yovany separately without maintaining records that would enable them to contact each otfier

   and failing to treat Letica's facial paralysis and Plaintiffs' other medical and psychological

   conditions,the federal officers referenced above failed to act with ordinary care and breached their

   duty of care and other duties owed to Leticia and Yovany.

           114.   As a direct and proximate result of the referenced conduct, Leticia and Yovany

   suffered substantial damages.

           115.   UndertheFederalTortClaimsAct,the United Statesis liable to Leticia and Yovany

   for negligence.



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                                              COUNT III
                                          ABUSE OF PROCESS

       116.        The other paragraphs ofthis complaint are incorporated as if set forth here.
       117.        The federal employees and officials referenced above abused legal process within
   their control for the unlawful purposes oftraumatizing Plaintiffs Leticia and Yovany,attempting
   to coerce Plaintiffs to abandon their lawful claims to asylum,and to deter future migrants from
   seeking refuge in the United States.

       118.       Leticia and Yovany were injured by this misconduct,as described herein.
       119.       Underthe FederalTortClaims Act,the United States is liable to Leticia and Yovany
   for abuse of process.

                                               COUNTIV
                                      ASSAULT AND BATTERY

      120.        The other paragraphs ofthis complaint are incorporated as if set forth here.
      121.        By engaging in the acts described above,including but not limited to subjecting
  Leticia and Yovany to freezing cold temperatures without providing them dry clothes or other
  meansofkeeping warm,federal employeesacted intentionally to cause(andin doingso,did cause)
  harmful or offensive contacts with Plaintiffs Leticia and Yovany.
      122.       Through that intentional conduct, federal employees caused Leticia and Yovany
  substantial physical and mental harm.

      123.       Underthe Federal Tort Claims Act,the United States is liable to Leticia and Yovany
  for assault and battery.

                                               COUNTY
                                            CONVERSION

     124.        The other paragraphs ofthis complaint are incorporated as if set forth here.




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       125.       Plaintiff Leticia had a legal right to the personal property described in this

   complaint.

       126.       Federal employees intentionally interfered with that right.

       127.      The actions of the federal employees proximately caused Leticia to lose her

   property.

       128.      Under the Federal Tort Claims Act, the United States is liable to Leticia for

   conversion.


                                      PRAYER FOR RELIEF


   Plaintiffs respectfully demand as follows;

      (1)Compensatory damages;

      (2) Costs; and

      (3) Such other and further relief as the Court may deem just and appropriate.




    Dated: December 12,2022                          Respectfully submitted,


    Zachary Manfredi*                                A16
    Bradley Jenkins*                                   fQnnis Hranitzky
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